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 1                IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
 2                          MCALLEN DIVISION
 3       JUANA CRUZ, OFELIA            )
         BENAVIDES, JOSE ELIAS N.G,    )
 4       GABRIELA VELAZQUEZ, RICARDO )
         GONZALEZ, HELESIO CRUZ,       )
 5       ANGELICA CHAVEZ, CONCEPCION )
         PEREZ, OLGA PEREZ, MAVRIGO    )
 6       SAENZ, JORGE MAOLEON,         )
         HECTOR SANCHEZ, HECTOR        )
 7       GONZALEZ, YESSY               )
         PEREZ-MARTINEZ, MARIA DE      )
 8       LOURDES CRUZ, RESENDO         )     CIVIL ACTION
         LIEVANOS, ELIZABETH LARA,     )   NO. 7:23-CV-00343
 9       LUIS ALBERTO                  )
         ZUNIGIA-CASTILLO, MIGUEL      )
10       CABALLERO SANCHEZ,            )     JURY DEMANDED
         GUILLERMO DE LA               )
11       CRUZ-MENDOZA, CARLOS DANIEL )
         LOPEZ, GILDA RIVAS, ARMANDO )
12       MORALES DE LLANO, LAZARO      )
         GARCIA, MARIA DE JESUS        )
13       MEDINA, RICARDO ESQUIVEL,     )
         RAFAEL SANCHEZ, GUILLERMO     )
14       RUIZ, ROSA QUINTANILLA,       )
                                       )
15                    PLAINTIFFS,      )
                                       )
16       VS.                           )
                                       )
17       DELGAR FOODS LLC A/K/A        )
         DELIA'S TAMALES,              )
18                                     )
                      DEFENDANT.       )
19
20
        *******************************************************
21                        ORAL DEPOSITION OF
22                         ROSENDO LIEVANOS
23                           June 28, 2024
24     ********************************************************
25

                                                                    Page 1

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                                                                    EXHIBIT
                                      346-293-7000
                                                                      A-6
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 1       ORAL DEPOSITION of ROSENDO LIEVANOS, produced                 1                    INDEX
                                                                       2                                                PAGE
 2 as a witness at the instance of the Defendant, and duly
                                                                       3 Appearances..................................... 03
 3 sworn, was taken in the above-styled and numbered cause             4 Exhibits........................................ 04
 4 on the 28th day of June, 2024, from 12:27 p.m. to                   5
 5 1:56 p.m., before Anica Diaz, CSR, RPR, CRR, in and for               ROSENDO LIEVANOS
                                                                       6
 6 the State of Texas, reported by machine shorthand, at
                                                                           Examination by Mr. Quezada................. 05
 7 the Law Offices of Ricardo Gonzalez, 124 South 12th                 7
 8 Avenue, Edinburg, Texas, pursuant to the Federal Rules              8 Changes and Signature........................... 41
 9 of Civil Procedure and the provisions stated on the                 9 Reporter's Certificate.......................... 43
10 record or attached.
                                                                      10
                                                                      11
11                                                                    12
12                                                                    13                 EXHIBITS
13                                                                                                                      PAGE
14                                                                    14
                                                                         Defendant's Exhibit No. 1
15
                                                                      15      Questionnaire Filled out by
16                                                                            Rosendo Lievanos...................... 35
17                                                                    16
18                                                                       Defendant's Exhibit No. 2
                                                                      17      Affidavit of Rosendo Lievanos......... 36
19
                                                                      18
20                                                                    19
21                                                                    20
22                                                                    21
                                                                      22
23
                                                                      23
24                                                                    24
25                                                                    25
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 1           APPEARANCES
                                                                       1             PROCEEDINGS
 2 COUNSEL FOR THE PLAINTIFFS:
 3     MR. RICARDO GONZALEZ                                            2          (Proceedings began at 12:27 p.m.)
       OXFORD & GONZALEZ
 4     124 South 12th Avenue
                                                                       3          (Per agreement of all counsel, Federal
       Edinburg, Texas 78539                                           4 Rule 30(b)(5) Read-On was waived.)
 5     Tel: (956) 383-5654
       ric@oxfordandgonzalez.com
                                                                       5          THE REPORTER: On the record at 12:27 p.m.
 6                                                                     6          (Interpreter and Witness were sworn in.)
 7 COUNSEL FOR THE DEFENDANT:
 8     MR. STEPHEN J. QUEZADA
                                                                       7              ROSENDO LIEVANOS,
       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.                  8 having been duly sworn, testified through an Interpreter
 9     500 Dallas Street, Suite 3000
       Houston, Texas 77002                                            9 as follows:
10     Tel: (713) 655-5757                                            10                EXAMINATION
       stephen.quezada@ogletree.com
11                                                                    11 BY MR. QUEZADA:
       MS. LORENA D. VALLE                                            12     Q. Good afternoon, Mr. Lievanos.
12     PORTER HEDGES, LLP
       1000 Main Street, 36th Floor                                   13     A. Lievanos.
13     Houston, Texas 77002-6341                                      14     Q. Lievanos.
       Tel: (713) 226-6000
14     lvalle@porterhedges.com                                        15          Good afternoon, Mr. Lievanos. My name is
15     MS. ELIZABETH SANDOVAL CANTU                                   16 Stephen Quezada, I'm an attorney representing Delgar
       RAMON WORTHINGTON NICOLAS & CANTU, PLLC
16     1506 South Lone Star Way, Suite 5                              17 Foods, L.L.C., and Delgar Foods, L.L.C. does business as
       Edinburg, Texas 78539                                          18 Delia's. Okay?
17     Tel: (945) 294-4800
       ecantu@ramonworthington.com                                    19     A. Yes.
18                                                                    20     Q. And, actually, Delia's Tamales.
19 ALSO PRESENT:
20     Mr. Luis Gonzalez, Interpreter                                 21     A. Delia's Tamales, yes.
       Ms. Olga Perez, Plaintiff                                      22     Q. So you understand today that when I say
21
22                                                                    23 Delia's, we're referring to the Defendant in the lawsuit
23
                                                                      24 that you're a part of, correct?
24
25                                                                    25     A. Yes. Yes.
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 1    A. Yes.                                                   1    Q. And does that include the bonus or it does not
 2    Q. And what did you study?                                2 include the bonus?
 3    A. Industrial engineering.                                3    A. It does not include.
 4    Q. Lots of math, huh?                                     4    Q. So with the bonus, about $60,000?
 5    A. Physics and math.                                      5    A. Approximately, yes.
 6    Q. Better you than me.                                    6    Q. And that's certainly more than your pay when
 7          Okay. Okay. You worked for Delia's as a             7 you were a cook, correct?
 8 manager, correct?                                            8    A. Yes, That is right.
 9    A. I started in the kitchen, then I was promoted          9    Q. And when you were a cook you didn't supervise
10 to manager.                                                 10 any employees, correct?
11    Q. And you were promoted to manager in May of            11    A. None.
12 2016, correct?                                              12    Q. You also had health insurance when you were
13    A. Yes. That is right.                                   13 working at Delia's?
14    Q. And are you aware of a difference between a           14    A. Yes.
15 production manager and a store manager?                     15    Q. And Delia's paid for that, correct?
16    A. Yes. I do know the difference.                        16    A. Yes. Yes.
17    Q. And those are two different positions, correct?       17    Q. Did you opt for the vision insurance?
18    A. Yes, that is right.                                   18    A. No.
19    Q. And you were a store manager, correct?                19    Q. But it was made available to you, correct?
20    A. Yes.                                                  20    A. Yes.
21    Q. And you supervised about 20 employees, correct?       21    Q. Did you get the dental insurance from Delia's?
22    A. From 20 to 30.                                        22    A. No.
23    Q. And you worked at the locations in -- well,           23    Q. But it was made available to you?
24 what locations did you work at?                             24    A. Yes.
25    A. At the six locations.                                 25    Q. So other than the bonus and the health
                                                     Page 10                                                        Page 12

 1     Q. And would you move around from location to            1 insurance, did you receive any benefit from Delia's?
 2 location, or would you be assigned at one and go to          2     A. Life insurance.
 3 another?                                                     3     Q. And did Delia's pay for the life insurance?
 4     A. When I started as a manager I was sent to             4     A. I don't remember.
 5 several locations, then I went to San Juan and Mission       5     Q. How much was the life insurance?
 6 in a stable manner.                                          6     A. I don't remember.
 7     Q. What was the last store to which you were             7     Q. Okay. And, I'm sorry, I'm not necessarily like
 8 assigned when you were a manager at Delia's?                 8 a premium amount but what was the value, if you know?
 9     A. Mission. In Mission.                                  9 Like if heaven forbid something were to happen, it would
10     Q. Okay. And I believe your last rate of pay was        10 be a $10,000, $20,000, $30,000, do you know?
11 $1,100 per week?                                            11     A. 100,000.
12     A. Yes.                                                 12     Q. More than 100,000 or 100,000?
13     Q. And you also received a bonus from Delia's?          13     A. Around there. I don't quite remember. It was
14     A. Yes.                                                 14 a large amount.
15     Q. And about how much was that bonus?                   15     Q. Okay. And that's something that's made
16     A. It was several amounts since I began.                16 available to managers, right?
17     Q. Okay. What was the amount of the last bonus          17     A. No, for everyone.
18 you received?                                               18     Q. Even the hourly employees?
19     A. 10,000.                                              19     A. Yes.
20     Q. And you -- excuse me.                                20     Q. And you also had two weeks of paid vacation; is
21           You would get that bonus in January?              21 that right?
22     A. Yes.                                                 22     A. Yes.
23     Q. So on an annual basis, what was the approximate      23     Q. And you took those paid vacations?
24 amount of your pay?                                         24     A. Yes.
25     A. Approximately, 50,000.                               25     Q. Would you take them all at once, or would you
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 1 take it a little bit here and there?                         1     A. Yes, that is right.
 2    A. One week the first half of the year, and the           2     Q. And you made sure employees followed those
 3 other week the second half of the year.                      3 procedures, right?
 4    Q. And did you do that the entire time you were a         4     A. Yes.
 5 manager?                                                     5     Q. Also, included policies about how employees
 6    A. Yes.                                                   6 should behave respectfully in the workplace?
 7    Q. I'd like to talk a little bit about what you           7     A. Yes.
 8 did as a manager, okay?                                      8     Q. Okay. And if an employee was violating those
 9    A. Okay.                                                  9 policies or those procedures, you were able to tell them
10    Q. We already got that you supervised about 20 to        10 to stop and correct them?
11 30 employees.                                               11     A. Yes. That is right.
12    A. Yes, that's -- that's it. That's right.               12     Q. And if you saw the foods being produced in an
13    Q. And these were employees who were hourly              13 incorrect manner, you could stop that and correct it as
14 employees working at the restaurant full-time, correct?     14 well, right?
15    A. Yes, that is right.                                   15     A. Yes.
16    Q. And were these employees back of the house, or        16     Q. And you had to use your experience and your
17 kitchen employees, or did they work in the front of the     17 judgment and discretion to make those decisions?
18 store where the customers were?                             18     A. Yes.
19    A. I was in charge of kitchen employees and              19     Q. The one question I forgot to ask you, what is
20 cashier too.                                                20 your address?
21    Q. Okay. Could you tell us about how many were in        21     A. 1409 St. Francis Avenue in Alton, Texas.
22 the kitchen and about how many were cashier?                22     Q. Where is Alton?
23    A. It was about half and half, 15 and 15.                23     A. Next to Mission.
24    Q. And as a manager you could hire employees?            24     Q. And is that a house, sir?
25    A. Yes.                                                  25     A. Yes.
                                                     Page 14                                                          Page 16

 1     Q. And you could also fire employees if you needed       1     Q. And who lives there in the house with you?
 2 to?                                                          2     A. My mother-in-law, my wife, and my two
 3     A. Yes, that too.                                        3 daughters.
 4     Q. If you saw -- well, Delia's has work policies         4     Q. If you had to pick one not to live there
 5 and procedures, correct?                                     5 anymore would it be the suegra? You don't have to
 6     A. Yes, That is right.                                   6 answer. You don't have to answer.
 7     Q. And your job as a manager was to enforce those        7     A. She's like my second mother.
 8 policies and procedures, correct?                            8     Q. That's good. Then I'm sure the children love
 9     A. Yes.                                                  9 it. Sorry.
10     Q. And those policies and procedures included how       10           Okay. Do you have a cell phone?
11 to -- policies about how to make the foods?                 11     A. Yes.
12     A. Yes.                                                 12     Q. What is your cell phone number?
13     Q. Or probably more procedures, right?                  13     A. (956) 563-2918.
14     A. Yes, more procedures.                                14     Q. 2919?
15     Q. And you would enforce those as a manager?            15     A. 2918. 563-2918, yes.
16     A. I didn't quite understand that.                      16     Q. Thank you. And who is the service provider?
17     Q. You make sure that the procedures were followed      17     A. Spectrum.
18 for making the food?                                        18     Q. And is it an iPhone or a Samsung?
19     A. Yes, yes.                                            19     A. Samsung.
20     Q. And those also included policies for how             20     Q. Okay. And have you had that -- for how long
21 employees were supposed to behave at the store, correct?    21 have you had that phone number?
22     A. Yes, that is right.                                  22     A. One year, one month.
23     Q. So policies and procedures about how to              23     Q. Has it always been with Spectrum?
24 correctly and accurately clock in and clock out,            24     A. I've been with Spectrum for one year, one
25 correct?                                                    25 month, since I got the phone.
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 1     Q. Since you've been with Spectrum, have you had        1 recommendations?
 2 the same device?                                            2    A. Sometimes.
 3     A. Yes.                                                 3    Q. And sometimes not?
 4     Q. Okay. Going back to your duties as a manager,        4    A. Yes, no.
 5 I'd like to ask you about a few more, okay?                 5    Q. Okay. What sort of trainings would you provide
 6     A. That's fine.                                         6 new employees?
 7     Q. Would you resolve customer complaints or             7    A. Security training, how to perform job duties
 8 issues?                                                     8 and harassment too.
 9     A. Yes.                                                 9    Q. Okay. Just so we're clear, how not to harass,
10     Q. So if a customer decided that their food wasn't     10 right?
11 good for whatever reason and wanted a refund, you would    11    A. Yes, how not to harass.
12 give them their money back?                                12    Q. Would you take lunch?
13     A. First, we offer credit in tamales. If they          13    A. Yes.
14 didn't want that, then we'd give them the refund.          14    Q. For how long did you have to eat?
15     Q. Was there ever a situation where you thought        15    A. Half hour.
16 something was just really bad and so you just went         16    Q. And you would take that lunch break?
17 straight to refund?                                        17    A. I'd generally wait for the other manager to
18     A. Yes.                                                18 eat.
19     Q. And you used your experience and judgment to        19    Q. So that way there could be at least one manager
20 make that decision?                                        20 on duty, if you will?
21     A. Yes, that is right.                                 21    A. Yes, of course.
22     Q. Would you organize the shift schedules?             22    Q. You received your pay by check, correct?
23     A. No.                                                 23    A. Direct deposit.
24     Q. Okay. If an employee got there late, would you      24    Q. And you would receive pay stubs?
25 correct them and remind them of when they needed to be     25    A. Yes.
                                                    Page 18                                                         Page 20

 1 there?                                                      1      Q. Would you look at your pay stubs to make sure
 2    A. Yes.                                                  2 they were correct?
 3    Q. Did you ever write anyone up?                         3      A. Yes.
 4    A. Yes.                                                  4      Q. And you knew if they weren't correct you --
 5    Q. And you would use your judgment and discretion        5      A. It was the same amount. It was a salary.
 6 to do that?                                                 6      Q. Nonetheless, if there was something wrong on
 7    A. Yes, that is right.                                   7 the check, you knew you could tell someone in human
 8    Q. If someone missed completely their shift, would       8 resources?
 9 you be the person to note that and to take the              9      A. Yes.
10 appropriate action?                                        10      Q. And you never did that, correct?
11    A. Yes. That is right.                                  11      A. No issue -- the occasion never happened with an
12    Q. Would you approve vacation time for the              12 issue.
13 employees that reported to you?                            13      Q. Okay. Fair enough. Were you ever disciplined
14    A. No.                                                  14 in any way?
15    Q. Did you ever provide any performance reviews?        15      A. Yes.
16    A. Yes.                                                 16      Q. And what was that for?
17    Q. Would you do those annually?                         17      A. I took it as an opportunity to improve.
18    A. Not annually, but periodically.                      18      Q. Okay. And what -- and when was that?
19    Q. Did you ever decide to give anyone a raise in        19      A. In San Juan.
20 their pay?                                                 20      Q. Do you remember the year?
21    A. No. I was not authorized. That was the               21      A. 2016 or '17.
22 supervisor.                                                22      Q. And what did they do? Just a write up and --
23    Q. Could you recommend that?                            23      A. Yes. Back then the supervisor was Monica and
24    A. Yes.                                                 24 she wrote the warnings. It was a work related, that's
25    Q. And would the supervisor follow your                 25 all.
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 1     Q. Was -- was that when you were an hourly              1     Q. Were you responsible for counting cash and
 2 employee?                                                   2 keeping track of cash?
 3     A. No. I was a manager already.                         3     A. Yes, that is right.
 4     Q. And would you say you were self-sufficient in        4     Q. Would you reconcile the cash sold?
 5 your position?                                              5     A. Sometimes. The supervisor was in charge of
 6     A. Yes, that's right.                                   6 that, but if he wasn't there or he was off, we would do
 7     Q. As a manager, did your duties ever change            7 that.
 8 overtime, or was it about the same the entire time you      8     Q. Would you make sure that the product that was
 9 were a manager?                                             9 needed to make the tamales and other items sold were in
10           THE INTERPRETER: May you repeat.                 10 stock and being handled correctly?
11     Q. (By Mr. Quezada) When you were manager, over        11     A. Yes.
12 time, did your duties change, or were they about the       12     Q. Could you hire -- or could you order, excuse
13 same the entire time you were a manager?                   13 me.
14     A. They changed over time.                             14           Could you order any products that were
15     Q. And in what way?                                    15 needed to make the foods?
16     A. Well, when I was a manager in Mission I had to      16     A. Yes.
17 speak to them about safety, to avoid accidents, job        17     Q. Would you receive product that was needed to
18 performance, and harassment.                               18 make the foods?
19     Q. So there towards the end you had more employee      19     A. Yes, that is right.
20 relation duties?                                           20     Q. And if you looked at that product and saw that
21     A. Yes. We were told that the employee was the         21 it wasn't good or incorrect, you could send it back?
22 most important part.                                       22     A. Yes, we could return.
23     Q. And that's the way you did your job?                23     Q. And if there was foods that were made that were
24     A. The employee was the most important. Yes, that      24 going to be sold to customers that did not appear to be
25 is right.                                                  25 to standard, could you make the decision to not sell
                                                    Page 22                                                        Page 24

 1    Q. Did you ever train an employee on how to use          1 those foods?
 2 the Focus system?                                           2    A. Yes. If the tamale had a foul smell we had to
 3    A. Yes.                                                  3 throw it away.
 4    Q. Did you clock in and clock out?                       4    Q. And all these duties we've discussed, all these
 5    A. I did not as a manager because I didn't have to       5 responsibilities we've discussed, again, you would use
 6 clock in or out since I was a salary employee.              6 your experience and judgment and discretion to make
 7    Q. And the employees who reported to you, did you        7 these decisions?
 8 make sure that they clocked in and clocked out              8    A. Yes.
 9 correctly?                                                  9    Q. And your decisions were respected and followed
10    A. Yes, that is right.                                  10 by the employee who reported to you?
11    Q. Did you have keys to the store?                      11    A. Yes, that is right.
12    A. Yes.                                                 12    Q. And your supervisor respected your
13    Q. You could open and close the store?                  13 decision-making authority, correct?
14    A. Yes. Only managers open and close stores.            14    A. Yes, that is right.
15    Q. You had the alarm code?                              15    Q. Who was your supervisor?
16    A. Yes. I did have that too.                            16    A. Jose Hernandez was my supervisor in Mission.
17    Q. Did the non-managerial employees have that           17    Q. And I think you mentioned Monica?
18 code?                                                      18    A. Yes. That was in -- that was in San Juan. It
19    A. No, only managers.                                   19 was Monica and then Jesus Pena.
20    Q. And was there a safe on the premises?                20    Q. Were you able to set your own schedule?
21    A. Yes.                                                 21    A. When I needed a specific day I'd notify the
22    Q. And did you have the code to the safe?               22 supervisor and he would give it to me.
23    A. Yes, I did know it.                                  23    Q. And you never had problem taking days off when
24    Q. Did any non-manager employees know it?               24 you wanted to?
25    A. No.                                                  25    A. No, none.
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 1     Q. Was there ever an opportunity for you to make          1 they weren't original?
 2 the decision to demote an employee?                           2     Q. And is that the only irregularity that you're
 3     A. No.                                                    3 talking about in this lawsuit?
 4     Q. Would you ever make the decision to reduce             4     A. Yes, yes.
 5 someone's pay?                                                5     Q. So just so that I have this clear, you're
 6     A. No.                                                    6 talking about deductions that were made from pay for
 7     Q. Why are you suing Delia's?                             7 benefits?
 8     A. For discrimination, unjustified termination,           8     A. I'm referring to Social Security deductions.
 9 and irregularities -- labor irregularities. And               9 If it isn't original, then where was it going?
10 intimidation.                                                10     Q. Okay. Any other deduction?
11     Q. Are the labor irregularities, do they fall            11     A. No. That's the only one.
12 under the same thing as intimidation?                        12     Q. So I'll represent to you, sir, that
13     A. It could -- -- but, no, no, it's different.           13 withholdings made for Social Security were remitted to
14     Q. So let's take the first thing you mentioned,          14 the federal government.
15 discrimination, okay.                                        15             Okay. Do you have any reason to believe
16     A. Yes. Well, that was in based that we were             16 that that's false?
17 terminated and other employees are in the same situation     17             MR. GONZALEZ: Objection; form.
18 and they're still there.                                     18     A. No, it didn't add up. I mean, if it was being
19     Q. Okay. So let me ask you this, the                     19 deducted, and it isn't original, where is it going? I'm
20 discrimination, you're saying that you were                  20 talking about all the years.
21 discriminated against because of the termination             21     Q. (By Mr. Quezada) Okay. Do you have any
22 decision; is that right?                                     22 evidence or facts that Delia's was holding on to those
23           MR. GONZALEZ: Objection; form.                     23 dollars and not sending them to the Government?
24     A. Yes, Yes. Because some were terminated and            24     A. No, I do not have.
25 others weren't, and that's how we ended up in this           25     Q. One allegation in this case is that Delia's was
                                                      Page 26                                                         Page 28

 1 situation.                                                    1 maintaining two sets of books. Have you heard that
 2     Q. (By Mr. Quezada) Okay. And you also mentioned          2 before?
 3 wrongful termination.                                         3     A. No.
 4     A. Yes.                                                   4     Q. So sitting here today, you have no knowledge of
 5     Q. And are you saying that the termination was            5 two sets of books by Delia's; is that right?
 6 wrongful because of the discrimination, meaning is it         6     A. That is un -- unknown to me.
 7 the same thing, or is it something different you're           7     Q. So let me ask you now about the -- well,
 8 telling us?                                                   8 anything else about irregularities, or did we cover it?
 9     A. Well, I consider each separate but they are            9     A. Yes, that's it.
10 together. Discrimination, intimidation, labor                10     Q. Okay. So, now, let me ask you about the
11 irregularities, and unjustified termination.                 11 intimidation. What are you claiming was intimidation?
12     Q. Were you aware that the reason Delia's                12     A. Yes. When we were called upon, Delia's had her
13 terminated your employee was because it received a           13 attorney. We were called without any legal
14 notice from the Government that it could no longer           14 representation.
15 continue employing you?                                      15     Q. Did you ask for legal representation at that
16     A. Yes. Uh-huh.                                          16 time?
17     Q. And sitting here today, do you have any facts         17     A. No. I mean, the day we were called, the
18 or evidence that you can tell us that would show that        18 attorneys were there, she had her attorneys, and we had
19 that reason is false?                                        19 no knowledge about it.
20     A. No, I do not.                                         20     Q. Okay. My question was, did you ask for an
21     Q. When you are telling us irregularities, what do       21 attorney at that time?
22 you mean by that?                                            22     A. Not at that time.
23     A. Yes. Well, they say -- well, supposedly our           23     Q. Okay. So what other -- what else is part of
24 documents aren't right. Why was our insurance taken          24 the intimidation?
25 out? I mean, it was being taken out. Where'd it go if        25     A. Just that part.
                                                      Page 27                                                         Page 29

                                                                                                        8 (Pages 26 - 29)
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                                                                                 deposition is a true record of the testimony given by
 1          I, ROSENDO LIEVANOS, have read the foregoing                                                              44
 2 deposition and hereby affix my signature that same is                       1 the witness;
                                                                               2        I further certify that pursuant to FRCP Rule
 3 true and correct, except as noted above.                                      30(f)(1) that the signature of the deponent:
 4                                                                             3
                                                                                     __X__ was requested by the deponent or a party
 5                                                                             4 before the completion of the deposition and that the
 6                     _________________________________                         signature is to be before any notary public and returned
                                                                               5 within 30 days from date of receipt of the transcript.
 7                     ROSENDO LIEVANOS                                          If returned, the attached Changes and Signature Page
                                                                               6 contains any changes and the reasons therefor;
 8 THE STATE OF TEXAS)
                                                                               7     ____ was not requested by the deponent or a party
 9 COUNTY OF ___________________________)                                        before the completion of the deposition.
                                                                               8
10          Before me, _____________________________, on                                I further certify that I am neither counsel
11 this day personally appeared ROSENDO LIEVANOS, known to                     9 for, related to, nor employed by any of the parties or
                                                                                 attorney in the action in which this proceeding was
12 me (or proved to me under oath or through                                  10 taken, and further that I am not financially or
13 ___________________) (description of identity card or                         otherwise interested in the outcome of the action.
                                                                              11
14 other document) to be the person whose name is                                       Certified to by me this 10th day of July, 2024.
15 subscribed to the foregoing instrument and acknowledged                    12
                                                                              13
16 to me that they executed the same for the purposes and                     14
                                                                              15              <%32255,Signature%>
17 consideration therein expressed.
                                                                                              Anica Diaz, Texas CSR(8021), RPR, CRR
18          Given under my hand and seal of office this                       16              Expiration Date: 08-31-24
                                                                                              Veritext Legal Solutions
19 ______ day of ________________, 2024.                                      17              Firm Registration No. 571
20                                                                                            300 Throckmorton Street, Suite 1600
                                                                              18              Fort Worth, Texas 76102
21              ___________________________________                           19
22              Notary Public in and for                                      20
                                                                              21
23              The State of Texas                                            22
24                                                                            23
                                                                              24
25                                                                            25
                                                                    Page 42                                                                 Page 44
 1        IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS                                   1 Ricardo Gonzalez - ric@oxfordandgonzalez.com
 2             MCALLEN DIVISION
 3    JUANA CRUZ, OFELIA          )                                            2              July 10, 2024
      BENAVIDES, JOSE ELIAS N.G, )
 4    GABRIELA VELAZQUEZ, RICARDO )                                            3 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
      GONZALEZ, HELESIO CRUZ,           )
 5    ANGELICA CHAVEZ, CONCEPCION )
                                                                               4 DEPOSITION OF: Rosendo Lievanos (# 6734289)
      PEREZ, OLGA PEREZ, MAVRIGO )                                             5     The above-referenced witness transcript is
 6    SAENZ, JORGE MAOLEON,           )

 7
      HECTOR SANCHEZ, HECTOR
      GONZALEZ, YESSY          )
                                          )                                    6 available for read and sign.
 8
      PEREZ-MARTINEZ, MARIA DE )
      LOURDES CRUZ, RESENDO             )
                                                                               7     Within the applicable timeframe, the witness
      LIEVANOS, ELIZABETH LARA, )                                              8 should read the testimony to verify its accuracy. If
 9    LUIS ALBERTO           ) CIVIL ACTION
      ZUNIGIA-CASTILLO, MIGUEL ) NO. 7:23-CV-00343                             9 there are any changes, the witness should note those
10    CABALLERO SANCHEZ,            )
      GUILLERMO DE LA           )                                             10 on the attached Errata Sheet.
11    CRUZ-MENDOZA, CARLOS DANIEL )
      LOPEZ, GILDA RIVAS, ARMANDO ) JURY DEMANDED                             11     The witness should sign and notarize the
12    MORALES DE LLANO, LAZARO )
      GARCIA, MARIA DE JESUS         )                                        12 attached Errata pages and return to Veritext at
13    MEDINA, RICARDO ESQUIVEL, )
      RAFAEL SANCHEZ, GUILLERMO )                                             13 errata-tx@veritext.com.
14    RUIZ, ROSA QUINTANILLA,         )
                    )                                                         14     According to applicable rules or agreements, if
15           PLAINTIFFS, )
                    )                                                         15 the witness fails to do so within the time allotted,
16    VS.             )
                    )                                                         16 a certified copy of the transcript may be used as if
17    DELGAR FOODS LLC A/K/A           )
      DELIA'S TAMALES,        )
                                                                              17 signed.
18                  )
             DEFENDANT.    )
                                                                              18                  Yours,
19
     ********************************************************
                                                                              19                  Veritext Legal Solutions
20                                                                            20
            REPORTER'S CERTIFICATION
21         DEPOSITION OF ROSENDO LIEVANOS                                     21
               June 28, 2024
22                                                                            22
         I, Anica Diaz, Certified Shorthand Reporter in
23 and for the State of Texas, hereby certify to the                          23
   following:
24                                                                            24
         That the witness, ROSENDO LIEVANOS, was duly
25 sworn by the officer and that the transcript of the oral                   25
                                                                    Page 43                                                                 Page 45

                                                                                                                                12 (Pages 42 - 45)
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                                                                   346-293-7000
